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                            UNITED STATES COURT OF APPEALS
                                 FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988              www.ca6.uscourts.gov




                                                 Filed: August 02, 2022

 Mr. James R. Gerometta
 Mr. Fabian Franco Renteria
 Federal Defender Office
 613 Abbott Street, Suite 500
 Detroit, MI 48226

 Mr. Andrew Goetz
 Mr. Daniel R. Hurley
 Mr. Henry Edward Moon III
 Mr. Kevin M. Mulcahy
 Office of the U.S. Attorney
 211 W. Fort Street, Suite 2001
 Detroit, MI 48226

 Mr. John A. Shea
 120 N. Fourth Avenue
 Ann Arbor, MI 48104-0000

                      Re: Case No. 22-1013, USA v. Ibraheem Musaibli
                          Originating Case No. : 2:18-cr-20495-1

 Dear Counsel,

    The court today announced its decision in the above-styled case.

    Enclosed is a copy of the court’s published opinion together with the judgment which has
 been entered in conformity with Rule 36, Federal Rules of Appellate Procedure.

                                                 Yours very truly,

                                                 Deborah S. Hunt, Clerk

                                                 Cathryn Lovely
                                                 Deputy Clerk
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 cc: Ms. Kinikia D. Essix

 Enclosures

 Mandate to issue.
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                                                        Filed 08/02/22



                                  RECOMMENDED FOR PUBLICATION
                                  Pursuant to Sixth Circuit I.O.P. 32.1(b)
                                         File Name: 22a0168p.06

                     UNITED STATES COURT OF APPEALS
                                    FOR THE SIXTH CIRCUIT



                                                               ┐
  UNITED STATES OF AMERICA,
                                                               │
                                     Plaintiff-Appellant,      │
                                                                >        No. 22-1013
                                                               │
         v.                                                    │
                                                               │
  IBRAHEEM IZZY MUSAIBLI,                                      │
                                    Defendant-Appellee.        │
                                                               ┘

    Appeal from the United States District Court for the Eastern District of Michigan at Detroit.
                    No. 2:18-cr-20495-1—David M. Lawson, District Judge.

                                        Argued: June 9, 2022

                                Decided and Filed: August 2, 2022

                     Before: BOGGS, MOORE, and GRIFFIN, Circuit Judges.

                                        _________________

                                              COUNSEL

 ARGUED: Andrew Goetz, UNITED STATES ATTORNEY’S OFFICE, Detroit, Michigan, for
 Appellant. John A. Shea, Ann Arbor, Michigan, for Appellee. ON BRIEF: Daniel R. Hurley,
 UNITED STATES ATTORNEY’S OFFICE, Detroit, Michigan, for Appellant. John A. Shea,
 Ann Arbor, Michigan, James R. Gerometta, Fabián Rentería Franco, OFFICE OF THE
 FEDERAL COMMUNITY DEFENDER, Detroit, Michigan, for Appellee.
                                        _________________

                                               OPINION
                                        _________________

        KAREN NELSON MOORE, Circuit Judge. International terrorism raises a host of
 complex legal issues, not the least regarding the rule against hearsay. For example, if a criminal
 defendant is alleged to have been part of a terrorist group, then do records documenting that
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 group’s organizational structure, logistics, and activities qualify as statements of co-conspirators
 under Federal Rule of Evidence 801(d)(2)(E)? This interlocutory appeal poses that question.
 Because the district court answered incorrectly, we REVERSE its denial of the government’s
 motion to admit the evidence at issue and REMAND with instructions that this evidence may be
 admitted. Consequently, the government’s motion to expedite is DENIED as moot.

                                           I. BACKGROUND

 A. Facts

        Amidst the fallout of the 2003 invasion of Iraq, the Arab Spring of 2011, and the ongoing
 Syrian Civil War, a new terrorist group emerged near the Syrian-Iraqi border: the Islamic State
 of Iraq and Syria (“ISIS”). Unlike other terrorist groups in the region, ISIS set as its goal the
 conquest of territory that it would then administer as a state. R. 166 (06/28/2021 Evidentiary
 Hr’g Tr. at 27:2–8) (Page ID #1764); R. 167 (06/29/2021 Evidentiary Hr’g Tr. at 274:22–275:6)
 (Page ID #2011–12). ISIS made this aim clear in 2014 when it announced that it sought to create
 a “Caliphate,” or a self-proclaimed “Islamic State.” R. 167 (06/29/2021 Evidentiary Hr’g Tr. at
 326:17–327:5) (Page ID #2063–64). By this time, the group already controlled large swaths of
 territory in both Syria and Iraq. Id.

        Territorial expansion, however, required more than willpower.             It took logistics.
 In acquiring additional lands in Syria and Iraq, ISIS acquired additional resources, including oil
 fields and millions of dollars from the region’s financial institutions. Id. at 304:20–22 (Page ID
 #2041). The number of ISIS’s members also ballooned as the group’s influence over these lands
 spread. Id. at 274:6–9 (Page ID #2011). This growth spurred the need for organization, and so
 to administer its expansive domain, manage its troops, and allocate its resources, the terrorist
 group became increasingly bureaucratic.          Id.   ISIS accordingly divided its operations into
 ministries to manage its affairs. Id. at 283:19–22 (Page ID #2020). These included offices that
 focused on matters such as finances and defense. Id.

        As the existence of a ministry of defense connotes, ISIS applied this bureaucratic mindset
 to how it structured and operated its military. Units were divided into divisions and then
 subdivided into battalions. R. 166 (06/28/2021 Evidentiary Hr’g Tr. at 87:10–20) (Page ID
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 #1824). Before being assigned to a battalion, fighters underwent religious, ideological, and
 military training. Id. at 144:10–145:16 (Page ID #1881–82). For their services, fighters were
 paid a monthly salary and their dependents received benefits if a fighter was killed in combat.
 Id. at 145:22–25, 152:21–25 (Page ID #1182, 1889). ISIS maintained payroll records to help to
 administer the salaries and keep track of its members. R. 167 (06/29/2021 Evidentiary Hr’g Tr.
 at 285:18–286:2, 292:7–18) (Page ID #2022–23, 2029).

        Given its complexity, the lifeblood of this bureaucracy was information and ISIS
 accordingly kept detailed entries in databases about its fighters. These entries included the
 names of fighters’ family members, their country of origin, their birthday, and their “kunya,” a
 fighter’s internal military name. R. 166 (06/28/2021 Evidentiary Hr’g Tr. at 150:16–19, 162:12–
 17) (Page ID #1887, 1899). In a similar vein, ISIS monitored and recorded the combat readiness
 of its fighters. Id. at 150:20–23. Fighters were assigned unique ten-digit numbers akin to Social
 Security numbers to facilitate administration. Id. at 77:19–21, 133–35 (Page ID #1814, 1870–
 72). Only those who swore allegiance to ISIS received an identification number. R. 167
 (06/29/2021 Evidentiary Hr’g Tr. at 337:23–338:11) (Page ID #2074–75).

        Among those allegedly recruited to fight for ISIS was the defendant, Ibraheem Izzy
 Musaibli. Originally from Dearborn, Michigan, Musaibli moved to Yemen in April 2015.
 Appellee Br. at 4. He concedes that he then traveled from there to Syria in the fall of 2015. Id.
 What happened in Syria, on the other hand, is a matter of dispute. Whereas Musaibli claims that
 he was forced to join ISIS, the government claims that his allegiance was voluntary. Id.;
 Appellant Br. at 5–6.    In the government’s timeline, Musaibli freely attended an ISIS-run
 religious training camp from October to November 2015 before undergoing military training
 from December 2015 to January 2016. R. 185 (Bill of Particulars at 2) (Page ID #2243).

        Regardless of why he was there, Musaibli traveled to Iraq and attended a military training
 camp sometime after entering Syria. Approximately forty nascent fighters, including, as he later
 admitted, Musaibli, were present at the training in the Iraqi city of Mosul, which lasted for
 twenty days. Ex. E.1 (Gary Interview at 4, 7). There, Musaibli was instructed in matters such as
 physical fitness, how to operate an assault rifle, and ways to conduct ambushes. Id. at 5, 7–11.
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 The training culminated in Musaibli and his fellow attendees swearing allegiance to ISIS. Id. at
 15–16.

          ISIS collected information from Musaibli, as it did from other fighters. Various entries in
 the terrorist group’s databases included his birthday. See, e.g., R. 166 (06/28/2021 Evidentiary
 Hr’g Tr. at 29:7–8, 84:15–16) (Page ID #1766, 1821). Likewise, Musaibli’s kunya, “Abu ‘abd
 al-Rahman al-Yemeni,” appears throughout the databases next to his birthday. Id. at 28:23–29:1,
 74:4–9, 83:25–84:18 (Page ID #1765–66, 1811, 1820–21). Musaibli corroborated that this was
 his kunya. Ex. E.1 (Gary Interview at 19). As with other members of the battalion, Musaibli
 also had an identification number—1200015723—and this, too, recurred next to his birthday and
 kunya in different entries. R. 166 (06/28/2021 Evidentiary Hr’g Tr. at 83:16–24, 250:5–19)
 (Page ID #1820, 1987). Numbers starting with 120 were associated in ISIS’s bureaucracy with
 non-Iraqi and non-Syrian fighters, though not exclusively so. R. 167 (06/29/2021 Evidentiary
 Hr’g Tr. at 336:12–337:1) (Page ID #2073–74).

          These entries were not always perfect. Musaibli’s name was sometimes misspelled.
 R. 166 (06/28/2021 Evidentiary Hr’g Tr. at 233:8–12, 236:2–15) (Page ID #1970, 1973). Other
 mistakes with ISIS’s recordkeeping were more serious.            Different fighters had incorrect
 birthdates in their entries, were erroneously listed as either dead or alive, and had the number of
 their dependents fraudulently altered to increase their monthly stipend. Id. at 236:16–237:20
 (Page ID #1973–74). Although the database administrators failed to correct every mistake, such
 issues did not escape Musaibli’s notice. On one occasion, he complained to an administrator,
 Abdelhamid Al-Madioum, that despite his entries reporting otherwise, he was married and
 should be receiving a marital stipend. Id. at 224:4–7, 251:16–252:15 (Page ID #1961, 1988–89).

          Nor was Musaibli’s service in ISIS without blemish. Because of his nationality, Musaibli
 was assigned to the Tariq Bin Ziyad battalion, which was composed mainly of non-Iraqi and
 non-Syrian fighters and numbered between 100 and 150 members. Id. at 75:2–4, 145:18–19
 (Page ID #1812, 1882). After training, Musaibli was sent with the battalion to Hit, Iraq, where
 fighting was ongoing. Ex. E.1 (Gary Interview at 19); United States v. Musaibli, No. 18-20495,
 2021 WL 6125849, at *1 (E.D. Mich. Dec. 28, 2021). His main duties appear to have been
 conducting “Ribat,” which the government has explained is a form of armed guard duty near the
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 frontline.   Ex. E.1 (Gary Interview at 9–10); Musaibli, 2021 WL 6125849, at *1.
 His performance of these responsibilities was tainted, however, as someone in ISIS documented
 that Musaibli “left the frontline twice without permission.” Ex. 1. Musaibli later alleged that he
 was a hostage of ISIS and imprisoned by the group ten times while he was in Syria and Iraq.
 R. 163 (06/21/2021 Mot. to Suppress Hr’g Tr. at 279:2–3) (Page ID #1605).

         During his tenure with ISIS, Musaibli also communicated with family members on
 various occasions. Through messages sent on Facebook, for instance, Musaibli told family
 members that he was with ISIS in Iraq and that he was fighting Americans and Shia Muslims
 there. R. 163 (06/21/2021 Mot. to Suppress Hr’g Tr. at 265:23–266:9) (Page ID #1591–92);
 Ex. L (Facebook R. at 114). On another occasion, Musaibli encouraged his family to travel to
 ISIS territory. R. 163 (06/21/2021 Mot. to Suppress Hr’g Tr. at 270:1–21) (Page ID #1596). He
 was apparently unsuccessful at that endeavor, and in August 2016 Musaibli’s cousin asked him
 whether he wanted to leave ISIS. Musaibli responded to the effect that he was not ready to go
 yet. Id. at 267:7–11 (Page ID #1593); Ex. L (Facebook R. at 270–71). Musaibli separately
 relayed to his father the kunya that he used. R. 166 (06/28/2021 Evidentiary Hr’g Tr. at 84:4–
 13) (Page ID #1821).

         Musaibli departed from the region two years later. Over several weeks in April and early
 June 2018, Musaibli exchanged messages with a federal agent about the possibility of leaving
 Syria. United States v. Musaibli, No. 18-20495, 2021 WL 5879405, at *1 (E.D. Mich. Dec. 13,
 2021). By June or July 2018, the possibility became a reality. During one of those months,
 Musaibli was apprehended by Syrian Democratic Forces while, he alleges, trying to flee ISIS.
 Id. at *1; Appellee Br. at 6. Soon after he was captured, federal law-enforcement agents took
 Musaibli into custody in Syria and brought him back to the United States. Musaibli, 2021 WL
 5879405, at *2. Enroute, Musaibli waived his Miranda rights and discussed his time in ISIS
 with the federal agents. Id. at *2–3. As a result of these discussions and other evidence, the
 government alleges that Musaibli was a member of ISIS from October 2015 until his capture in
 either June or July 2018. R. 185 (Bill of Particulars at 1) (Page ID #2242).
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 B. Procedural History

        Back in the United States, Musaibli faced criminal charges for his ISIS-related activities.
 A grand jury indicted him for “providing and attempting to provide material support to a
 designated foreign terrorist organization” in violation of 18 U.S.C. § 2339B; “conspiracy to
 provide material support to a foreign terrorist organization” also in violation of 18 U.S.C.
 § 2339B; possessing and discharging a firearm (machine gun) in furtherance of a crime of
 violence in violation of 18 U.S.C. § 924(c)(1)(A), (B)(ii); and “receipt of military-type training
 from a foreign terrorist organization” in violation of 18 U.S.C. § 2339D(a).          R. 48 (First
 Superseding Indictment at 1–5) (Page ID #104–08); R. 185 (Bill of Particulars at 1–4) (Page ID
 #2242–45).

        In preparing for trial, the government identified the following exhibits that were
 recovered from various ISIS facilities (collectively, the “ISIS documents”):

        •   Exhibit One: A roster of fighters assigned to the Tariq Bin Ziyad battalion,
            which contained Musaibli’s kunya, census number, and other personal details.
            R. 166 (06/28/2021 Evidentiary Hr’g Tr. at 26:1–29:17) (Page ID #1763–66).
        •   Exhibit Two: A biographical sheet for a member of the Tariq Bin Ziyad
            battalion other than Musaibli who had gone missing and with whom Musaibli
            had allegedly worked to recruit others to ISIS. Id. at 29:18–30:25, 75:8–77:3,
            165:13–167:19 (Page ID #1766–67, 1812–14, 1902–04).
        •   Exhibit Three: Another roster of members of the Tariq Bin Ziyad battalion,
            this one of battalion administrators, including Al-Madioum. Id. at 167:20–
            170:16 (Page ID #1904–07).
        •   Exhibit Four: ISIS payroll records for fighters, administrators, and other
            members of the terrorist group, including a fighter later identified as Musaibli.
            Id. at 81:11–88:20 (Page ID #1818–25).
        •   Exhibit Five: A spreadsheet containing Musaibli’s kunya, census number, and
            other personal details, and which appears to have been connected to a budget
            prepared by ISIS’s Office of Treasury. Id. at 88:21–93:13 (Page ID #1825–
            30).
        •   Exhibit Eight: Budget databases, which included reports from the “Soldier’s
            Administration” of ISIS covering months in 2016 and recording payments to
            fighters and administrators, including to a fighter later identified as Musaibli.
            Id. at 184:17–203:8 (Page ID #1921–40).
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        •   Exhibit Nine: A roster of non-Iraqi and non-Syrian fighters in both the Tariq
            Bin Ziyad battalion and other ISIS military units with their payments; one
            fighter was later identified as Musaibli. Id. at 203:12–206:6 (Page ID #1940–
            43).
        •   Exhibit Eleven: Musaibli’s marriage certificate that he sent his parents. Id. at
            103:23–25 (Page ID #1840). The certificate bore ISIS’s stamp and apparently
            was issued by the group. Id. at 104:1–15 (Page ID #1841).

        Because many documents referenced Musaibli, the government believed that the ISIS
 documents were vital to their case against Musaibli. To ensure that they could be used as
 evidence, the government moved to admit the documents before trial, arguing that they were
 relevant to establishing three facts: that a conspiracy existed between “Musaibli and others to
 provide material support to ISIS”; that Musaibli “provided material support to ISIS in the form
 of his own personal service, specifically, serving under the direction and control of ISIS as a
 solider”; and that Musaibli “attended a training camp . . . because soldiers for ISIS received
 military training from the group.” R. 102 (Mot. to Admit at 10) (Page ID #325).

        Musaibli opposed the government’s motion. He countered that the documents could not
 be properly authenticated and that, pertinent on appeal, they were hearsay. R. 153 (Resp. at 7–
 14) (Page ID #1274–81). He separately moved to suppress the statements that he made to
 federal agents both before and during his journey back to the United States. R. 106 (Mot. to
 Suppress) (Page ID #381–400); R. 107 (Mot. to Suppress) (Page ID #401–26).

        With the rule against hearsay in mind, the government offered three arguments for
 admitting the ISIS documents.      To start, the government argued that the documents were
 statements of co-conspirators admissible under Federal Rule of Evidence 801(d)(2)(E), though
 the government offered different theories about the conspiracy’s scope. R. 102 (Mot. to Admit at
 24–30) (Page ID #339–45). At one point, the government defined the conspiracy in which
 Musaibli was allegedly involved as aiming both to run “the Caliphate as a legitimate
 government” and to engage “in repeated battles with Coalition Forces,” explaining that the
 documents furthered these goals by helping the terrorist group to manage its resources. Id. at
 27–28, 30 (Page ID #342–43, 345). At other points, the government hewed closer to the
 indictment, noting that the United States had designated ISIS as a terrorist organization in May
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  2014, and that fighters like Musaibli who pledged allegiance to the group and fought for it had
  entered a conspiracy to provide material support to it. Id. at 25–26 (Page ID #340–41).

         Should the co-conspirator-statements argument prove to be unconvincing, the
  government had backups. The government pointed to Federal Rule of Evidence 803(6), which
  provides an exception to the rule against hearsay for records of a regularly conducted activity.
  Id. at 30–32 (Page ID #345–47). According to the government, “ISIS focused as much on its
  bureaucracy as it did on its fight against Coalition Forces,” with several of the proffered
  documents being part of the routine inner workings of the terrorist group, such as payroll records
  and troop distribution sheets. Id. at 32 (Page ID #347). As a final argument, the government
  maintained that the documents fell within the residual hearsay exception, Federal Rule of
  Evidence 807. Id. at 33 (Page ID #348).

         Four days of evidentiary hearings followed. During the first two days, the district court
  heard testimony on Musaibli’s motion to suppress. R. 155 (06/03/2021 Mot. to Suppress Hr’g
  Tr.) (Page ID #1319–1559); R. 163 (06/21/2021 Mot. to Suppress Hr’g Tr.) (Page ID #1568–
  1730). The district court ultimately denied that motion, and that ruling is not at issue on appeal.
  See United States v. Musaibli, No. 18-20495, 2021 WL 5879405, at *10 (E.D. Mich. Dec. 13,
  2021). The next two days of hearings were devoted solely to the government’s motion to admit
  the ISIS documents. R. 166 (06/28/2021 Evidentiary Hr’g Tr.) (Page ID #1738–1998); R. 167
  (06/29/2021 Evidentiary Hr’g Tr.) (Page ID #1999–2117).

         In these hearings, the government called six witnesses to lay the foundation for admitting
  the ISIS documents. Each testified to various aspects of the documents. Several of the witnesses
  identified Musaibli’s information as belonging to him and including features of ISIS’s
  organizational structure. See, e.g., R. 166 (06/28/2021 Evidentiary Hr’g Tr. at 29:7–8, 83:16–24,
  84:15–16, 105:19–106:13, 250:5–19) (Page ID #1766, 1820, 1821, 1842–43, 1987). These
  witnesses included Abdelhamid Al-Madioum, the administrator to whom Musaibli had
  complained about not receiving a marital stipend. Al-Madioum had been taken into custody by
  the United States, had pleaded guilty to providing material support to a foreign designated
  terrorist organization, and had since agreed to cooperate with the government. Id. at 207:10–
  209:1 (Page ID #1944–46).
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          During his stint in ISIS, Al-Madioum served as a database administrator for the Tariq Bin
  Ziyad battalion from around May 2016 to about November 2016. Id. at 149:6–11, 213:1–14,
  214:8–215:9 (Page ID #1886, 1950, 1951–52). As part of his job, Al-Madioum helped to collect
  and manage information about members of the battalion, including fighters’ names, families’
  names, birthdates, ISIS-issued identification numbers, and the number of wives and children that
  they had. Id. at 150:1–23 (Page ID #1887). In addition to the time that Musaibli spoke with him
  about a faulty marital-status entry in his information, Al-Madioum observed Musaibli in areas
  where ISIS operated on three other occasions while both were in the group. Id. at 147:9, 223:1–
  224:17 (Page ID #1884, 1960–61). Al-Madioum identified various entries in the ISIS documents
  as belonging to Musaibli. See, e.g., id. at 180:2–15, 187:1–189:2, 203:12–206:6 (Page ID #1917,
  1924–26,1940–43).

          On December 28, 2021, the district court issued its evidentiary ruling, which appeared to
  agree with the government on several points. The district court agreed that the government had
  laid a sufficient foundation at least to “suggest[]” that Musaibli had “enlisted as a foot soldier
  with an ISIS military branch.” Musaibli, 2021 WL 6125849, at *13. The district court also
  agreed that the government had provided evidence indicating that Musaibli had “received some
  military training after recruitment” from ISIS. Id. The district court even agreed that the
  government provided sufficient evidence to suggest that Musaibli had “provided support to ISIS
  by participating in some fighting and other routine tasks like guard duty” based on the
  government’s proffer. Id.

          Where the district court and the government parted ways was in what conclusions could
  be drawn from these facts. Analyzing whether the ISIS documents qualified as statements of co-
  conspirators, the district court concluded that they did not, explaining that “the record does not
  yet establish the scope of the conspiracy that the defendant allegedly joined with sufficient
  precision to permit the statements in the exhibits to be considered his ‘vicarious admissions.’”
  Id. The district court underscored its concern that “[t]here is a serious danger in this case of
  conflating (or inflating) the defendant’s culpability based on the ISIS organization’s criminal and
  terrorist activities generally.” Id.
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         The government fared no better on its other two theories. For the purposes of Federal
  Rule of Evidence 803(6), the district court determined that the government had failed to show
  that the “documents were created either contemporaneously with the activities memorialized, or
  by a person with personal knowledge of the information recorded,” which disqualified them
  under this rule. Id. at *14. For the purposes of Federal Rule of Evidence 807, the district court
  concluded that the ISIS documents were both too untrustworthy and too closely related to
  existing hearsay exceptions and exemptions to qualify for the residual exception. Id. at *15–17.
  Trial was set to start on January 11, 2022, two weeks after the district court issued its evidentiary
  ruling. R. 180 (09/09/21 Dist. Ct. Order at 3) (Page ID #2212).

         Facing the imminent prospect of going to trial without key evidence, the government
  filed an interlocutory appeal under 18 U.S.C. § 3731 and an emergency motion with this court to
  stay the district court proceedings. App. R. 11 (Emergency Mot. at 1). After some conferencing
  below, the district court adjourned the trial pending appeal, thus mooting the government’s
  emergency motion. R. 221 (01/07/2022 Dist. Ct. Order at 1–2) (Page ID #2530–31). This
  appeal on the merits of the evidentiary issues followed.

                                           II. ANALYSIS

  A. Jurisdiction under 18 U.S.C. § 3731

         Before addressing the evidentiary question of whether the ISIS documents are
  inadmissible hearsay, we must resolve a threshold jurisdictional issue. Namely, Musaibli argues
  that we do not have jurisdiction under 18 U.S.C. § 3731 to review the district court’s evidentiary
  ruling. For the reasons that follow, we disagree and hold that our jurisdiction is proper.

         The procedural posture of this case is unique to criminal law. Our jurisdiction to review
  district-court decisions is normally limited to appeals brought once a final judgment has issued.
  See 28 U.S.C. § 1291. When the government prosecutes a criminal case, this limitation poses a
  dilemma. Waiting to file an appeal until after the district court issues a final judgment runs up
  against the Fifth Amendment’s prohibition against putting a defendant in jeopardy of punishment
  twice for the same offense. U.S. Const. amend V. Indeed, the Double Jeopardy Clause severely
  constricts the timeline of when the government can seek appellate review during a jury trial
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  because “jeopardy attaches when a jury is empaneled and sworn.” Serfass v. United States,
  420 U.S. 377, 388 (1975). This means that whereas defendants may seek further review if they
  are convicted, “[p]retrial review is usually the government’s only option to appeal erroneous
  evidentiary rulings.” United States v. Williams, 30 F.4th 263, 265 (5th Cir. 2022).

          Seeking to rebalance this asymmetry, Congress enacted 18 U.S.C. § 3731 to “remove all
  statutory barriers to Government appeals and to allow appeals whenever the Constitution would
  permit.” United States v. Wilson, 420 U.S. 332, 337 (1975). To this end, § 3731 provides the
  government with “a one-party path for interlocutory review” of orders excluding evidence in
  criminal cases. United States v. Clariot, 655 F.3d 550, 552 (6th Cir. 2011). To proceed down
  this avenue, five criteria must be met. First, there must be “a decision or order of a district court
  suppressing or excluding evidence” from which the government is appealing. 18 U.S.C. § 3731
  (emphasis added). Second, the defendant cannot have already been put in jeopardy. Id. Third,
  the “United States attorney [must] certif[y] to the district court that the appeal is not taken for
  purpose of delay and that the evidence is a substantial proof of a fact material in the proceeding.”
  Id. Fourth, the government must appeal “within thirty days after the decision . . . or order has
  been rendered.” Id. Fifth, the government must “diligently prosecute[]” the appeal. Id.

          Musaibli does not contest that the government has satisfied the second through the fifth
  criteria. This choice is understandable. Because the district court adjourned trial during the
  pendency of this appeal, no jury has been empaneled and jeopardy has not attached. R. 221
  (01/07/2022 Dist. Ct. Order at 2) (Page ID #2531). The United States Attorney for the Eastern
  District of Michigan also certified that the appeal “in this case is not taken for purpose of delay
  and that the evidence is a substantial proof of a fact material in this proceeding.” R. 212-1
  (Certification) (Page ID #2426). The district court issued its order on December 28, 2021, and
  the government filed its notice of appeal on January 5, 2022, making the notice timely. R. 212
  (Notice of Appeal) (Page ID #2425). Finally, the government has diligently prosecuted this
  appeal; for one thing, it sought expedited briefing. App. R. 26 (Mot. to Expedite). In short, the
  undisputed criteria are clearly satisfied.

          Musaibli focuses instead on the first criterion: whether the government is appealing a
  decision that suppresses or excludes evidence. His argument can be summarized syllogistically.
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  According to Musaibli, we cannot exercise appellate jurisdiction under § 3731 unless the district
  court either suppressed or excluded evidence. But here, “no potential document evidence has
  been excluded or suppressed from the criminal trial”; the district court simply failed to admit
  evidence. Appellee Br. at 20. Therefore, he argues, § 3731 cannot provide us with jurisdiction
  over the government’s appeal. We are not convinced.

         Although it is true that the district court’s order denied the government’s motion to admit
  the ISIS documents, rather than granted a motion by Musaibli to exclude them, that distinction is
  semantic in this case. Section 3731 must be interpreted by its own terms, which include the
  mandate that the statute’s text “be liberally construed to effectuate its purposes.” 18 U.S.C.
  § 3731. As the Supreme Court has repeatedly observed of § 3731, Congress’s aim in enacting
  the law was the removal of “all statutory barriers to Government appeals and to allow appeals
  whenever the Constitution would permit” of adverse evidentiary rulings.          United States v.
  Helstoski, 442 U.S. 477, 487 n.6 (1979) (quoting Wilson, 420 U.S. at 337).

         These textual indications have led courts to eschew formalistic analysis, with the
  Supreme Court concluding that the inquiry under § 3731 “must be guided in determining the
  question of appealability of [a] trial court’s action not by the name the court gave [its decision]
  but by what in legal effect it actually was.” United States v. Sisson, 399 U.S. 267, 279 n.7 (1970)
  (quoting United States v. Waters, 175 F.2d 340, 341 (D.C. Cir. 1948)) (second alteration in
  original); see also United States v. Siegel, 536 F.3d 306, 314–15 (4th Cir. 2008); United States v.
  Horwitz, 622 F.2d 1101, 1104–05 (2d Cir. 1980). That § 3731 favors appellate jurisdiction is
  further driven home by the fact that Congress added the command of liberality to curb stingier
  interpretations of the section. See United States v. Watson, 386 F.3d 304, 309 (1st Cir. 2004). In
  other words, determining whether we have jurisdiction “requires us to apply section 3731 in a
  pragmatic, common-sense manner,” with an eye on the problems and purposes animating the
  law. United States v. Flemmi, 225 F.3d 78, 84 (1st Cir. 2000).

         Such pragmatic considerations settle jurisdictional concerns in this appeal. Once the
  government moved to admit the ISIS documents, Musaibli filed a response in opposition. R. 102
  (Mot. to Admit) (Page ID #316–49); R. 111 (Resp.) (Page ID #681–86). The district court
  subsequently held evidentiary hearings on two separate days related to the government’s motion.
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  R. 166 (06/28/2021 Evidentiary Hr’g Tr.) (Page ID #1738–1998); R. 167 (06/29/2021
  Evidentiary Hr’g Tr.) (Page ID #1999–2117). During those hearings, the government offered
  testimony from six witnesses to support the documents’ admissibility, one of whom both helped
  to create some of the documents and met with Musaibli about the documents’ contents while the
  two were in ISIS. The district court also had before it Musaibli’s confession regarding his
  involvement in the group and his messages with his family about that involvement. Musaibli,
  2021 WL 5879405, at *10. Having received all this evidence, the district court then closely
  considered all the government’s arguments for admission of the ISIS documents, rejecting each
  in its ruling. Musaibli, 2021 WL 6125849, at *12–17. This rejection included the district court’s
  indication that the ISIS documents were inadmissible hearsay. Id. at *17.

         Put differently, the government has proffered what is likely the best foundation that can
  be expected prior to trial, leaving the issue of admissibility thoroughly ventilated below and
  nothing but a set of legal questions—namely, whether the government’s foundation is sufficient
  for any hearsay exemption or exception to apply—for us to consider. The district court has also
  provided every indication that it believes the documents to be hearsay, and we have every reason
  to conclude that this qualifies as a de facto exclusion of the ISIS documents. The fact that the
  district court might change its mind does not alter the analysis under 18 U.S.C. § 3731.

         Indeed, if the mere possibility of reconsideration foreclosed our review, then no
  evidentiary ruling would ever be the basis for appellate jurisdiction because “evidentiary rulings
  are by their very nature nonfinal.” United States v. Decinces, 808 F.3d 785, 789 (9th Cir. 2015).
  Congress recognized this feature of evidentiary rulings when it crafted 18 U.S.C. § 3731 “to
  create exceptions to the finality requirement of [28 U.S.C.] § 1291,” United States v. Rodriguez,
  975 F.2d 404, 408 (7th Cir. 1992), and we have been loath to overlook that recognition based on
  speculations of what might happen below, see United States v. Presser, 844 F.2d 1275, 1279–80
  (6th Cir. 1988) (expressing similar concern with reference to a conditionally phrased order). For
  these reasons, we hold that the district court’s ruling is an order excluding evidence within the
  scope of 18 U.S.C. § 3731.
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  B. Co-conspirator Statements

         On the merits, this appeal centers on whether the ISIS documents are hearsay. Under
  Federal Rule of Evidence 802, hearsay testimony—that is, “a statement that . . . the declarant
  does not make while testifying at the current trial or hearing; and . . . a party offers in evidence to
  prove the truth of the matter asserted in the statement,” FED. R. EVID. 801(c)—is inadmissible.
  This leaves the proponent of possible hearsay evidence with a couple of options for gaining its
  admission. The proponent could show that the evidence is not hearsay, as the government
  attempted to do by invoking Federal Rule of Evidence 801(d)(2)(E). See United States v.
  Damra, 621 F.3d 474, 492 (6th Cir. 2010) (noting that statements admitted under this exemption
  are “explicitly not hearsay”). Failing that, the proponent could identify an applicable exception
  to the rule against hearsay, as the government tried to do when it relied on Federal Rules of
  Evidence 803(6) and 807.

         Although the district court de facto excluded the ISIS documents on all three grounds,
  our analysis begins and ends with Federal Rule of Evidence 801(d)(2)(E). Under that rule, a
  statement is not hearsay if it “was made by the party’s coconspirator during and in furtherance of
  the conspiracy.” FED. R. EVID. 801(d)(2)(E). “To invoke this hearsay exclusion, the government
  must demonstrate by a preponderance of the evidence that (1) a conspiracy existed, (2) the
  defendant was a member of the conspiracy, and (3) the co-conspirator’s statement was made in
  furtherance of the conspiracy.” United States v. Bailey, 973 F.3d 548, 560 (6th Cir. 2020). The
  government may rely on the contents of the co-conspirator statements to demonstrate each of
  these elements, but must also offer independent, corroborating evidence to that effect. United
  States v. Payne, 437 F.3d 540, 544 (6th Cir. 2006). On appeal, we review for clear error the
  three predicate factual determinations of whether a conspiracy existed, whether the defendant
  was a member of that conspiracy, and whether the statement in question was made in furtherance
  of it. Damra, 621 F.3d at 492; United States v. Gessa, 971 F.2d 1257, 1260–61 (6th Cir. 1992)
  (en banc).     We then review de novo the legal conclusions drawn from these factual
  determinations. Damra, 621 F.3d at 492; Gessa, 971 F.2d at 1261.
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         Because both the district court below and Musaibli on appeal have focused on the first
  element of Rule 801(d)(2)(E), particularly whether the government adequately defined the scope
  of the conspiracy that it claimed existed, so do we. When determining whether a conspiracy
  existed under Rule 801(d)(2)(E), “[t]he key is coordinated action.” 30B CHARLES ALAN WRIGHT
  & ARTHUR R. MILLER, FEDERAL PRACTICE AND PROCEDURE § 6778 (2022 ed.). For this reason,
  we have repeatedly stressed that the alleged conspiracy need not be the same as the one charged.
  See, e.g., United States v. Maliszewski, 161 F.3d 992, 1008–09 (6th Cir. 1998); United States v.
  Bonds, 12 F.3d 540, 573 (6th Cir. 1993). In fact, there need not even be a conspiracy charge in
  the case for Rule 801(d)(2)(E) to apply. See, e.g., United States v. Horton, 847 F.2d 313, 323–24
  (6th Cir. 1988); United States v. McCullah, 745 F.2d 350, 358 (6th Cir. 1984); United States v.
  Kendricks, 623 F.2d 1165, 1168 n.5 (6th Cir. 1980).

         Nevertheless, an indictment can be instructive to the analysis under Rule 801(d)(2)(E).
  Musaibli was charged with conspiring “with others to provide material support and resources in
  the form of personnel and services” to ISIS in violation of 18 U.S.C. § 2339B and the
  government identified this as the conspiracy that existed for purposes of Rule 801(d)(2)(E) to the
  district court. R. 48 (First Superseding Indictment at 3) (Page ID #106); R. 102 (Mot. to Admit
  at 25–26) (Page ID #340–41). We have previously upheld a criminal conviction for a similarly
  defined conspiracy. See United States v. Alebbini, 979 F.3d 537, 543–46 (6th Cir. 2020). Given
  that the standard of proof for determining whether a conspiracy existed under Rule 801(d)(2)(E)
  is the less onerous preponderance-of-the-evidence standard, Musaibli’s indictment provides an
  intuitive set of boundaries defining the conspiracy’s scope. Cf. United States v. Squillacote,
  221 F.3d 542, 563 (4th Cir. 2000) (using an indictment analogously in case involving
  international espionage). What remains to be seen is whether the government carried its burden
  in demonstrating the existence of a conspiracy to provide ISIS with the alleged material support.

         After reviewing the record, we hold that the government carried its burden and that the
  district court clearly erred in ruling otherwise. Beginning with the ISIS documents that directly
  implicate Musaibli, we consider witness testimony offered by the government that establishes
  that Exhibits One, Four, Five, Eight, and Nine all identify Musaibli and others as providing
  services to ISIS, specifically as members of the Tariq Bin Ziyad battalion. See, e.g., R. 166
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  (06/28/2021 Evidentiary Hr’g Tr. at 26:1–29:17, 81:11–88:20, 88:21–93:13, 184:17–203:8,
  203:12–206:6) (Page ID #1763–66, 1818–25, 1825–30, 1921–40, 1940–43). Exhibit Eleven
  meanwhile appears to be a marriage certificate issued by ISIS, which is indicative not only of
  Musaibli’s involvement in the terrorist group, but also, considering his conversation with
  Al-Madioum concerning his marital status and the benefits that should have attended it, of how
  the group incentivized people to provide their services. Id. at 103:23–25, 104:1–15 (Page ID
  #1840, 1841). These documents alone are probative of both a coordinated effort to provide ISIS
  with material support and of Musaibli’s involvement in those efforts.

         Other exhibits further bolster the existence of that conspiracy. Exhibit Two provides
  biographical details of a different fighter from the battalion who had become missing and with
  whom Musaibli had allegedly worked to recruit new members to ISIS. Id. at 29:18–30:25, 75:8–
  77:3, 165:13–167:19 (Page ID #1766–67, 1812–14, 1902–04).               Exhibit Three identifies
  administrators of the battalion including Al-Madioum, whose testimony provides some of the
  foundation for the ISIS documents. Id. at 167:20–170:16 (Page ID #1904–07). Although neither
  of these exhibits identify Musaibli, they do identify others with whom he served in the Tariq Bin
  Ziyad battalion, the roles that they played in the unit, and how the organization operated. If, as
  we note again later, “statements which identify the participants and their roles in the conspiracy
  are made ‘in furtherance’ of a conspiracy,” then such statements once paired with corroborating
  evidence are also a good indication that a highly organized and bureaucratic conspiracy to
  provide a group with personnel and services existed. United States v. Clark, 18 F.3d 1337, 1342
  (6th Cir. 1994) (emphasis added); see also Payne, 437 F.3d at 544 (corroboration requirement).

         Separate evidence offered by the government provides the required corroborating
  evidence. Musaibli’s own words supported the existence of a conspiracy to provide ISIS with
  personnel and services. His confession detailed how he and others went through training and
  swore allegiance to ISIS as part of their enrollment in the unit. Ex. E.1 (Gary Interview at 4, 7,
  15–16). Even before making this confession, the messages that Musaibli sent via social media
  informed his family that he was aiding in the terrorist group’s broader fight against Americans
  and Shia Muslims and encouraged family members to join him. R. 163 (06/21/2021 Mot. to
  Suppress Hr’g Tr. at 265:23–266:9, 270:1–21) (Page ID #1591–92, 1596); Ex. L (Facebook R. at
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  114). In terms of identifying Musaibli in the ISIS documents, Musaibli corroborated his kunya
  both in communications with his father and in his confession. R. 166 (06/28/2021 Evidentiary
  Hr’g Tr. at 84:4–13) (Page ID #1821); Ex. E.1 (Gary Interview at 19).

         All of this led the district court to conclude that the government’s proffer was sufficient
  to “suggest[]” that Musaibli enlisted in, was trained by, and fought for ISIS and Musaibli does
  not appear to challenge these conclusions on appeal. Musaibli, 2021 WL 6125849, at *13. This
  evidence, however, does more than merely suggest these facts; it establishes them by a
  preponderance of the evidence. By the same standard, the repeated references to other fighters
  and description of the training that Musaibli underwent and the oath he took also establish that he
  did not engage in the described conduct alone or absent coordination. Rather, that conduct was
  clearly undertaken with compatriots to provide ISIS with personnel and services.

         Any lingering doubts about whether the district court erred are dispelled by the testimony
  of the government’s most unique—perhaps even extraordinary—witness, Al-Madioum.
  A database administrator for the Tariq Bin Ziyad battalion during part of Musaibli’s time in the
  unit, Al-Madioum had personal knowledge of the battalion’s operations and its members.
  Salient here, Al-Madioum recognized Musaibli’s entries in the database and testified to seeing
  Musaibli on several occasions around areas where ISIS operated.              R. 166 (06/28/2021
  Evidentiary Hr’g Tr. at 147:9, 180:2–15, 187:1–189:2, 203:12–206:6, 223:1–224:17) (Page ID
  #1884, 1917, 1924–26,1940–43, 1960–61).

         Al-Madioum then went beyond testifying merely to recognizing Musaibli’s database
  entries and having seen him around while both were members of ISIS. He also testified that
  Musaibli approached him at one point about correcting information in his record so that Musaibli
  could receive additional benefits. Id. at 224:4–7, 251:16–252:15 (Page ID #1961, 1988–89).
  Al-Madioum provided similar testimony regarding the person detailed in Exhibit Two who, like
  Musaibli, also requested that some of his information be changed in the database. Id. at 165:13–
  166:18 (Page ID #1902–03). When paired with the other evidence in the record, Al-Madioum’s
  testimony clearly establishes by a preponderance that an intricate conspiracy to provide ISIS
  with personnel and services existed, that this conspiracy was supported by a sophisticated
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  bureaucratic apparatus that kept track of its members and incentivized their service through
  salaries and other benefits, and that Musaibli was one such member.

         In defense of the district court’s ruling, Musaibli echoes its concern. Specifically, he
  cautions that allowing the co-conspirator-statement exemption to include the conspiracy at issue
  would allow the government to enter any statement made by any participant in ISIS’s sizeable
  membership, regardless both of how tangentially connected this was to his conduct, which he
  characterizes as being a “mere solider” who fought for the group “in a discrete place at a discrete
  point in time.” Appellee Br. at 30. For this reason, he argues, we should affirm the district
  court’s de facto exclusion of the ISIS documents.

         Framed generally, Musaibli’s concern has merit. Admitting statements of co-conspirators
  into evidence has long been based on principles that have the potential to exempt large categories
  of statements from the rule against hearsay.        As the Supreme Court explained, the rule’s
  common-law origins are rooted in

         the principle that when any number of persons associate themselves together in
         the prosecution of a common plan or enterprise, lawful or unlawful, from the very
         act of association there arises a kind of partnership, each member being
         constituted the agent of all, so that the act or declaration of one, in furtherance of
         the common object, is the act of all, and is admissible as primary and original
         evidence against them.

  Hitchman Coal & Coke Co. v. Mitchell, 245 U.S. 229, 249 (1917). Rule 801(d)(2)(E) continues
  to embody these agency principles, predicating admission of co-conspirator statements on a tacit
  understanding that conspiracies are forms of principal-agent relationships. See FED. R. EVID. 801
  Adv. Comm. Note; see also United States v. El-Mezain, 664 F. 3d 467, 503 (5th Cir. 2011)
  (collecting cases from different circuits discussing agency principles underpinning Rule
  801(d)(2)(E)).

         Due to the breadth with which Rule 801(d)(2)(E) can sweep statements into evidence, the
  requirement that an agreement existed to achieve some end provides an important limiting
  principle. To take one prominent example from the cases cited by the parties, membership in
  one Mafia family without more is insufficient to have statements made by members of other
  families be admissible under Rule 801(d)(2)(E). United States v. Gigante, 166 F.3d 75, 83 (2d
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  Cir. 1999). There must be a “unity of interests,” not just analogous identities, before statements
  of alleged co-conspirators can speak in one’s name. Id. Otherwise, a conspiracy could be
  defined at such a general level—“organized crime” or “terrorism” or just “breaking the law”—to
  include statements that shared no other purpose than the one superimposed on them after the fact
  by prosecutors. The agency theory of co-conspirator statements demands more agreement in
  advance than that.

         But there is no magic number of co-conspirators past which unity unravels. Statements
  made in furtherance of a large conspiracy are no more outside the bounds of Rule 801(d)(2)(E)
  than ones made in service of a small conspiracy. As commentators and courts alike have noted,
  large conspiracies will necessarily encompass a greater number of statements under Rule
  801(d)(2)(E). See Gigante, 166 F.3d at 82 (“The conspiratorial ingenuity of La Cosa Nostra
  expands the normal boundaries of a criminal enterprise, and Rule 801(d)(2)(E) must expand
  accordingly to encompass the full extent of the conspiracy.”); WRIGHT & MILLER, FEDERAL
  PRACTICE AND PROCEDURE § 6778 (“The rule is flexible enough to capture conspiracies ranging
  from a two-person robbery team to a hundred-person crime family.”). Instead of altering the
  rules of evidence, cases that involve wide-reaching conspiracies simply underscore the
  importance of the proponent of the evidence demonstrating that a common objective bound the
  conspiracy together, that the defendant agreed to this goal, and that the statements at issue were
  made in furtherance of it. See, e.g., United States v. Russo, 302 F.3d 37, 46 (2d Cir. 2002)
  (stressing that in large conspiracies, admissibility under Rule 801(d)(2)(E) “depends on the
  nature of the statement offered—in particular what objective it sought to advance—and whether
  the defendant was jointly engaged with the declarant in a conspiracy seeking that objective.”).

         As the records from ISIS’s databases attest, the conspiracy at issue was large. It was not,
  however, boundless. The alleged conspiracy of which Musaibli was a part was providing ISIS
  with material support and resources in the form of personnel and services. Those goals set a
  clear boundary to the plot.    For example, statements made by those offering services and
  personnel to other terrorist groups are outside the limits of this conspiracy.       Cf. Gigante,
  166 F.3d at 83. Nor could a statement that a member of ISIS made after withdrawing from the
  conspiracy or after the conspiracy had terminated fall within the conspiracy’s ambit.
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  See United States v. Conrad, 507 F.3d 424, 430 (6th Cir. 2007) (“[O]ut-of-court statements made
  after the conclusion of the conspiracy are not made ‘in furtherance of the conspiracy.’”);
  WRIGHT & MILLER, FEDERAL PRACTICE          AND   PROCEDURE § 6779 (“[A] statement cannot be
  offered under Rule 801(d)(2)(E) if it was made after the party against whom it is offered has
  withdrawn from the conspiracy.”). But statements generated by ISIS’s bureaucratic apparatus to
  support the mission of providing the terrorist group with personnel and services are different.
  Those statements fit comfortably within the alleged conspiracy’s scope.

         The ISIS documents are also in furtherance of the alleged conspiracy. “A statement is ‘in
  furtherance of’ a conspiracy if it is intended to promote the objectives of the conspiracy. The
  statement need not actually advance the conspiracy to be admissible. Additionally, statements
  which identify the participants and their roles in the conspiracy are made ‘in furtherance’ of a
  conspiracy.” Conrad, 507 F.3d at 430 (quoting Clark, 18 F.3d at 1342). For example, because
  statements identifying Musaibli as an ISIS fighter attest both to the services that Musaibli agreed
  with others to render to the terrorist group and to how the group managed its personnel, they
  further the conspiracy with which he is charged.           Likewise, statements identifying the
  administrators who managed information about alleged fighters like Musaibli—one of whom he
  met and directed to alter parts of his entry—are not “idle chatter,” but rather clearly indicative
  and in furtherance of a conspiracy to provide services and personnel to ISIS. United States v.
  Wright, 343 F.3d 849, 867 (6th Cir. 2003). The sinews of shared purpose tether these statements
  to one another and back to Musaibli.

         Finally, Musaibli’s attempt to break this chain by suggesting that he might show that he
  withdrew from the conspiracy does not merit de facto exclusion of the ISIS documents.
  Appellee Br. at 5–6. Although we have noted that the lower a person’s position in a conspiracy
  is, the weaker the presumption that the person continues to belong to the conspiracy becomes,
  see United States v. Brown, 332 F.3d 363, 374 (6th Cir. 2003), Musaibli has yet to offer
  sufficient evidence indicating that he withdrew from the conspiracy before the statements at
  issue were made. In sum, we conclude that the district court erred.
            Case: 22-1013 Document:
Case 2:18-cr-20495-DML-MKM  ECF No. 38-2   Filed: 08/02/2022
                                    239, PageID.2739            Page: 21Page 23 of 24
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                                      III. CONCLUSION

         For the foregoing reasons, we REVERSE the district court and REMAND for further
  proceedings with instructions that the ISIS documents may be admitted as statement of co-
  conspirators pursuant to Federal Rule of Evidence 801(d)(2)(E). Furthermore, the government’s
  motion to expedite is DENIED as moot.
             Case: 22-1013 Document:
Case 2:18-cr-20495-DML-MKM           38-3PageID.2740
                            ECF No. 239,   Filed: 08/02/2022    Page: 1Page 24 of 24
                                                       Filed 08/02/22             (24 of 24)




                                   UNITED STATES COURT OF APPEALS
                                        FOR THE SIXTH CIRCUIT

                                                No. 22-1013


   UNITED STATES OF AMERICA,
          Plaintiff - Appellant,                                                  FILED
                                                                             Aug 02, 2022
          v.                                                             DEBORAH S. HUNT, Clerk
   IBRAHEEM IZZY MUSAIBLI,
          Defendant - Appellee.



                         Before: BOGGS, MOORE, and GRIFFIN, Circuit Judges.

                                            JUDGMENT
                              On Appeal from the United States District Court
                               for the Eastern District of Michigan at Detroit.

         THIS CAUSE was heard on the record from the district court and was argued by counsel.

           IN CONSIDERATION THEREOF, it is ORDERED that the district court’s denial of the
  government’s motion to admit the evidence at issue is REVERSED, and the case is REMANDED with
  instructions that the evidence may be admitted.

                                                  ENTERED BY ORDER OF THE COURT




                                                  Deborah S. Hunt, Clerk
